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                               United States District Court
                               For the District of Columbia

 True the Vote, Inc.;
                                               Plaintiff,
           v.                                               Civil Case No. 1:13-cv-000734-RBW

 Internal Revenue Service, et al.;                          Memorandum of Points and
                                            Defendants.     Authorities in Support of Plaintiff’s
                                                            Second Supplemental Application
                                                            and Motion for Attorneys’ Fees,
                                                            Costs, and Expenses under the
                                                            Equal Access to Justice Act


  Memorandum of Points and Authorities in Support of Plaintiff’s Second
   Supplemental Application and Motion for Attorneys’ Fees, Costs, and
            Expenses under the Equal Access to Justice Act

       Plaintiff, True the Vote, Inc. (“TTV”), requests an award of $39,253.20 in fees, costs, and

expenses incurred in its submission in response to the Court’s May 30, 2019 Order (ECF No.

161), which supports the reasonableness of its requested attorney and non-attorney billing rates.

With this application, TTV’s total request for attorney’s fees, costs, and expenses incurred in

pursuing a statutory fee award totals $142,302.40 (the sum of this Second Supplemental

Application and $103,049.20 in fees from its Supplemental Application). The total recovery of

attorneys’ fees, costs, and expenses sought under 28 U.S.C. § 2412(b), the Equal Access to

Justice Act (“EAJA”) now totals $2,021,362.76.1


       1
         This total of $2,021,363,76, valued at the LSI Matrix rates, reflects: (1) $1,933,888.06
in attorneys’ and paraprofessional’s fees sought in Plaintiff’s Application and Motion for
Attorneys’ Fees, Costs, and Expenses Under the Equal Access to Justice Act (ECF No. 151)
(“Application”); (2) ($54,730.20) as an adjustment to attorney and paraprofeesional fees, costs,
and expenses, detailed in Plaintiff’s Reply to United States’ Opposition to Application and
Motion for Attorneys’ Fees, Costs, and Expenses Under the Equal Access to Justice Act (ECF
No. 156) (“Reply”); (3) $103,049.20 in attorneys’ and paraprofessional fees sought in Plaintiff’s
Supplemental Application and Motion for Attorneys’ Fees, Costs, and Expenses Under the Equal
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       In its Memorandum Opinion, this Court held that TTV is the prevailing party in this

litigation. (ECF No. 162 at 11.) (“Memo. Op.”). The Court ruled that TTV prevailed because the

Consent Order’s declaratory judgment that “discrimination on the basis of political viewpoint in

administering the United States tax code violates fundamental First Amendment rights” afforded

TTV some of the relief it sought in the litigation, and that this declaratory judgment was judicial

relief that effected a “material alteration of the legal relationship between [TTV] and the

government.” See id. at 9-12. (internal citations omitted). Further, this Court held that

Defendants’ actions underlying this litigation—namely the discriminatory conduct the IRS

engaged in against TTV—was not substantially justified. See id. at 13-14. Finally, the Court held

that the Defendants could not show that special circumstances exist that would make a fee award

unjust. See id. at 16. Therefore, this Court held that TTV is entitled to attorneys’ fees under the

EAJA. Id.

       The Court held not only that TTV is entitled to an award of attorneys’ fees, but it also

found that TTV is entitled to a “bad faith enhancement” over the EAJA statutory hourly rate cap

on those fees. Id. at 21-22. The Defendants’ admissions that it “screen[ed] [TTV’s] application

based on its name or policy positions, subject[ed] the application to heightened scrutiny and

inordinate delays, and demand[ed] [that TTV provide unnecessary] information,” the Circuit’s

observation that “the IRS cannot defend its discriminatory conduct on the merits,” and the

Defendants’ failure to offer any justification that their conduct was “narrowly tailored to serve



Access to Justice Act (ECF No. 157) (“Supplemental Application”); (4) ($97.50) as an
adjustment to The Bopp Law Firm’s (“BLF”) billing records in Plaintiff’s Notice of Compliance
with Court Order (ECF No. 165) (“Notice”) which removed a charge for paraprofessional
Matthew Michaloski; and (5) $39,253.20 in attorneys’ fees, costs, and expenses incurred in
responding the Court’s Order. (“Second Supplemental Application”).
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compelling state interests” all combined to provide this Court with “clear and convincing”

evidence that the IRS acted in bad faith. See id. at 21.

             TTV Is Entitled to Attorney’s Fees, Costs, and Expenses
                         for Preparing the Fee Petition.

       Courts in this district award attorneys for the work performed in “attempting to settle the

attorney’s fees matter, preparing the initial motion for attorney’s fees and its reply in support of

its motion, and in preparing [any] objections [to] the Court.” Elec. Privacy Info. Ctr. v. FBI, 80

F. Supp. 3d 149, 162 (D.D.C. 2015). Courts have at times found such a “fees on fees” request

may be reduced for partial or limited success on the underlying claims. Prunty v. Vivendi, 195 F.

Supp. 3d 107, 117 (D.D.C. 2016).2

       Plaintiff contends that wholesale or categorical reducing of the “fees on fees” work is

inconsistent with the purpose of a fee-shifting statute—providing incentive for prosecution of

legal action vindicating important rights and “‘curbing excessive regulation and the unreasonable

exercise of Government authority.’” Jean, 496 U.S. at 165 (citation omitted). As the Court

recognized in Jean “imposing the cost of fee litigation on prevailing parties” “resurrect[s]” “the

financial deterrent that the EAJA aims to eliminate.” Id.

       Moreover, reducing fees for work on a fee petition based on limited success on the merits

results in the inequitable outcome of reducing the amount recoverable on work a plaintiff’s

counsel is required to do regardless of the level of success on the underlying claim. In preparing a


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        Prunty references Commissioner, INS v. Jean, which stands for the notion that an
unsuccessful argument on a particular point as it relates to fees should be reduced because that
argument was unsuccessful. 496 U.S. 154, 163 n.10 (1990) (holding that if the Government’s
challenge to a paralegal rate is successful, then the applicant should not receive fees for the time
spent defending the higher rate) (emphasis added). Jean does not stand for the wholesale
reduction of a “fees on fees” claim in accordance with the original litigation’s unsuccessful
claims.
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reasonable request, plaintiffs are required to process the billing records, garner evidence of the

appropriate hourly rate, and then scrutinize the billing records to exercise billing judgment and

determine and deduct the hours spent on unsuccessful claims—just as TTV has done. See Pl.’s

Memo. Supp., ECF No. 151-8 at 24-27. None of the time preparing a fee request and its

supporting documentation is spent arguing the merits of any unsuccessful claims, but presenting

facts and argument as to the proper amount of the fee award. Now, TTV requests the reasonable

fees, costs and expenses for responding to this Court’s request for further submissions as to the

prevailing market rate for similar work in this District. This work too is completely unrelated to

any unsuccessful claim.

       Therefore, Plaintiff submits that it is entitled to its reasonable request of of $39,253.20 in

fees, costs, and expenses incurred for preparing the Notice and its supporting documentation, and

a total of $142,302.40 for “fees on fees.” And, as detailed supra at n.1, TTV requests a total of

$2,021,362.76 in attorneys’ fees, costs, and expenses for work on the merits of this case and in

pursuit of reasonable attorneys’ fees.



June 14, 2018                                       Respectfully submitted,
                                                    /s/ James Bopp, Jr.
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                                  Certificate of Service

         I hereby certify that on June 14, 2019 , I caused the Memorandum of Points and
Authorities in Support of Plaintiff’s Second Supplemental Application and Motion for Attorneys’
Fees, Costs, and Expenses under the Equal Access to Justice Act in the above-captioned matter
to be filed with the United States District Court for the District of Columbia via the Court’s
CM/ECF system.

                                               /s/ James Bopp, Jr.
                                               James Bopp, Jr.
